            Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 1 of 25




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AVICEDA THERAPEUTICS, INC.
        Plaintiff,                                         C.A. No. _______________
 v.
                                                          JURY TRIAL DEMANDED
 TRIAL RUNNERS, LLC
        Defendant.




            COMPLAINT AND REQUEST FOR DECLARATORY JUDGMENT

       Plaintiff Aviceda Therapeutics, Inc. brings this action against Defendant Trial Runners,

LLC, and states as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for breach of contract, breach of the implied covenant of good

faith and fair dealing, and declaratory relief under Delaware law.

       2.      Plaintiff Aviceda is a clinical-stage biotechnology company based in Cambridge,

Massachusetts. One
Massachusetts. One of
                   of Aviceda's
                      Aviceda’s investigational
                                investigational compounds, AVD-104, is an ophthalmic
                                                compounds, AVD-104,

treatment being studied for the treatment of geographic atrophy secondary to age-related macular

degeneration, a condition affecting over five million people worldwide.

       3.      Aviceda retained Defendant Trial Runners as a contract research organization to

         Aviceda’s clinical
help run Aviceda's          trial of
                   clinical trial of AVD-104,
                                     AVD-104, entitled: “Multiple Dose Study of
                                              entitled: "Multiple            of AVD-104 for
                                                                                         for

                                                 Macular Degeneration
Geographic Atrophy (GA) Secondary to Age-Related Macular Degeneration (AMD)” (the "AVD-
                                                                      (AMD)" (the “AVD-

104 Study”).
104 Study"). The AVD-104 Study is divided into two parts, Part 1 and Part 2.
             The AVD-104

       4.      Aviceda’s and
               Aviceda's and Trial Runners’ respective
                             Trial Runners' respective roles as "Sponsor"
                                                       roles as “Sponsor” and
                                                                          and "CRO"
                                                                              “CRO” of
                                                                                    of the
                                                                                       the

AVD-104 Study are governed
        Study are governed by
                           by aa Master
                                 Master Clinical
                                        Clinical Services Agreement ("MCSA")
                                                 Services Agreement (“MCSA”) entered
                                                                             entered into
                                                                                     into
            Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 2 of 25




by the parties on August 29, 2022, along with all associated documents and amendments thereto

(together, the
(together, the "Agreement").
               “Agreement”). The parties’ roles
                             The parties' roles are
                                                are also
                                                    also governed
                                                         governed by
                                                                  by applicable
                                                                     applicable federal
                                                                                federal law

concerning clinical
concerning          trials, and
           clinical trials, and by
                                by industry standards known
                                   industry standards known as
                                                            as Good Clinical Practice
                                                               Good Clinical Practice ("GCP").
                                                                                      (“GCP”).

       5.                                     Trial Runners'
               On October 12, 2023, following Trial Runners’ poor
                                                             poor performance
                                                                  performance with
                                                                              with respect
                                                                                   respect to
                                                                                           to

                                                                          MCSA "at
Part 2 of the AVD-104 Study, Aviceda exercised its right to terminate the MCSA “at any
                                                                                   any time
                                                                                       time and
                                                                                            and

for any
for any reason"
        reason” upon
                upon thirty
                     thirty days'
                            days’ written
                                  written notice
                                          notice to
                                                 to Trial Runners. Trial
                                                    Trial Runners.       Runners acknowledged
                                                                   Trial Runners acknowledged

receipt of the termination notice that same day, and acknowledged that the Agreement would

remain in force through November 11, 2023 (i.e., thirty days later).

       6.      The no-fault termination clause in the Agreement is intended to provide for an

                                               of the
efficient, orderly, and professional wind-down of the parties'
                                                      parties’ relationship.
                                                               relationship. Yet
                                                                             Yet as
                                                                                 as retribution for

Aviceda’s exercise
Aviceda's          of its
          exercise of its contractual right, Trial Runners immediately commenced a pattern of

intentional and retaliatory contract breaches that are making it impossible for Aviceda to properly

wind down its relationship with Trial Runners and transition the AVD-104 Study before the

effective termination date (November 11, 2023).

       7.      Immediately after receiving
               Immediately after receiving Aviceda's
                                           Aviceda’s termination
                                                     termination notice,
                                                                 notice, Trial
                                                                         Trial Runners
                                                                               Runners cut off

Aviceda’s access
Aviceda's access to
                 to two
                    two key databases housing
                        key databases housing study data owned by Aviceda, without notice to

Aviceda, and notwithstanding the fact that the MCSA expressly recognizes that Aviceda owns this

data and therefore must be granted access to it at all times. After four days, and only after repeated

requests from Aviceda and its counsel including the threat of legal action, Trial Runners finally

         Aviceda’s access to the databases.
restored Aviceda's

       8.      As soon as this breach was cured, Trial Runners started breaching the Agreement

again. Aviceda's
again. Aviceda’s Chief
                 Chief Medical
                       Medical Officer
                               Officer sent
                                       sent detailed instructions to
                                            detailed instructions to Trial
                                                                     Trial Runners
                                                                           Runners for how the
                                                                                   for how the

parties should engage in a cooperative wind-down of activities, to allow for a smooth transition of



                                                  2
             Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 3 of 25




                                     to aa new
the AVD-104 Study from Trial Runners to    new CRO.
                                               CRO. Trial Runners’ CEO
                                                    Trial Runners' CEO refused
                                                                       refused to
                                                                               to engage
                                                                                  engage in
                                                                                         in

this cooperative exercise with Aviceda, instructed her employees not to engage in this exercise

                                 and threatened
with their Aviceda counterparts, and threatened to
                                                to cause
                                                   cause "problems"
                                                         “problems” with
                                                                    with the
                                                                         the transition
                                                                             transition if
                                                                                        if Trial
                                                                                           Trial

Runners did not first get paid an exorbitant sum of money.

       9.       Trial Runners’ actions
                Trial Runners' actions are
                                       are in breach of
                                           in breach of the
                                                        the Agreement,
                                                            Agreement, which
                                                                       which contains
                                                                             contains aa section
                                                                                         section

            the parties'
enumerating the parties’ obligations
                         obligations in
                                     in the
                                        the event
                                            event of termination. The CRO and Sponsor are

required "to
required “to cooperate
             cooperate to
                       to provide
                          provide for
                                  for an
                                      an orderly
                                         orderly wind-down of the Services”;    “not undertake
                                                                  Services"; to "not undertake

further work . . . or . . . enter into further commitments . . . except as mutually agreed upon in

writing by the Parties"; and to
               Parties”; and to "use
                                “use all
                                     all reasonable
                                         reasonable efforts
                                                    efforts to
                                                            to conclude
                                                               conclude or
                                                                        or transfer
                                                                           transfer any uncompleted

               as expeditiously
Services . . . as expeditiously as
                                as possible
                                   possible and
                                            and in
                                                in accordance
                                                   accordance with
                                                              with all
                                                                   all Applicable
                                                                       Applicable Laws.”
                                                                                  Laws." To date,
                                                                                         To date,

Trial Runners has done none of these things, and in fact, has intentionally obstructed them.

       10.      Trial Runners’ actions
                Trial Runners' actions are
                                       are frustrating
                                           frustrating the
                                                       the purpose
                                                           purpose of
                                                                   of the
                                                                      the Agreement
                                                                          Agreement and
                                                                                    and causing
                                                                                        causing

Aviceda immediate harm—including delays to the AVD-104 Study, harm to
                                                       Study, harm to Aviceda's
                                                                      Aviceda’s reputation

in the medical community, and money damages based on Trial Runners' misuse of
                                                           Runners’ misuse of the
                                                                              the millions
                                                                                  millions of
                                                                                           of

dollars that Aviceda has already paid to Trial Runners for work on the study.

                                         THE PARTIES

       11.      Aviceda is a clinical-stage biotechnology company that focuses on developing

next-generation immunomodulators to alleviate chronic non-resolving inflammation.

       12.      Aviceda is a Delaware corporation with its principal place of business at One

Broadway, 14th Floor, Cambridge, Massachusetts 02142.

       13.      Trial Runners is an ophthalmology contract research organization that manages and

leads clinical trials via project and data management, patient recruitment, and quality assurance

monitoring.



                                                3
             Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 4 of 25




       14.      Trial Runners is a limited liability company organized and existing under the laws

of North Dakota, with its principal place of business at 116 W. Villard St., Dickinson, North

Dakota 58601.

       15.      On information and belief, no member of Trial Runners is domiciled in

Massachusetts or Delaware.

                                   JURISDICTION AND VENUE

       16.      Subject matter jurisdiction is proper under 28 U.S.C. § 1332(a) because the amount

in controversy exceeds $75,000, exclusive of interest and costs, and there is complete diversity of

citizenship between the parties.

       17.      This Court has personal jurisdiction over Trial Runners because Trial Runners

conducted business in the District of Massachusetts by, among other things: contracting with

Aviceda, a Massachusetts headquartered corporation; overseeing a clinical trial for a

Massachusetts corporation, including traveling to Massachusetts; periodically consulting and

        with Aviceda's
meeting with Aviceda’s executives and personnel, including in Massachusetts; and receiving and

depositing payments for millions of dollars sent by Aviceda from Massachusetts.

       18.      Venue is proper under 28 U.S.C. § 1391(b)(2) because, among other things, Trial

         actions are
Runners’ actions
Runners'         are interfering
                     interfering with
                                 with Aviceda's
                                      Aviceda’s ability
                                                ability to
                                                        to run
                                                           run its clinical trial from Massachusetts,

including accessing its data from the AVD-104 Study in Massachusetts.

                                   FACTUAL BACKGROUND

   A. Geographic Atrophy, Age-Related Macular Degeneration, the AVD-104 Study, and
      the MCSA

       19.                         (“GA”) is an advanced form of age-related macular
                Geographic atrophy ("GA")

             (“AMD”) that leads to progressive and irreversible loss of visual function. More than
degeneration ("AMD")




                                                 4
                Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 5 of 25




five million people worldwide have GA, including more than one million people in the United

States.

          20.                novel lead
                   Aviceda’s novel
                   Aviceda's       lead clinical
                                        clinical candidate, AVD-104, has the potential to treat
                                                 candidate, AVD-104,

individuals with GA secondary to AMD. Aviceda began clinical studies for AVD-104 in 2023.

          21.      On August 29, 2022, Aviceda and Trial Runners executed the MCSA, which

defined Aviceda
defined Aviceda as
                as the
                   the "Sponsor"
                       “Sponsor” and
                                 and Trial Runners as
                                     Trial Runners as the
                                                      the "CRO"
                                                          “CRO” for the AVD-104
                                                                for the AVD-104 Study. A true

and accurate copy of the MCSA is attached as Exhibit 1.

          22.                                                       governs: "This
                   The parties agreed in the MCSA that Delaware law governs: “This Agreement
                                                                                   Agreement shall
                                                                                             shall

be governed by and construed in accordance with the laws of the State of Delaware without giving

effect to any choice of law principles that would require the application of the laws of a different

jurisdiction.” See Ex. 1, § 13.6.
jurisdiction."

          23.      Also on August 29, 2022, the parties executed Project Addendum No. 1, which

outlined preliminary budgets and timelines for both Part 1 and Part 2 of the AVD-104 Study. A

true and accurate copy of Project Addendum No. 1 is attached as Exhibit 2.

          24.      On January 12, 2023, the parties executed Change Order No. 1 to the MCSA. A

true and accurate copy of Change Order No. 1 is attached as Exhibit 3.

          25.      On June 4, 2023, the parties executed Change Order No. 2 to the MCSA. A true

and accurate copy of Change Order No. 2 is attached as Exhibit 4.

          26.      Together, the MCSA, Project Addendum No. 1, Change Order No. 1, and Change

                      the parties'
Order No. 2, comprise the parties’ "Agreement."
                                   “Agreement.”

          27.      Part 1 of the AVD-104 Study is ongoing. Even though all Part 1 patients have

received their full dosing regimen of AVD-104, many patients are still being followed as part of

the clinical
the          trial protocol's
    clinical trial protocol’s three-month critical safety observation.



                                                  5
              Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 6 of 25




        28.      Aviceda has paid Trial Runners in full for all work that it has performed in

connection with Part 1 of the study, with the exception of recently-issued invoices (i.e., not yet

past the 30-day review period provided under Section 6.2 of the MCSA) relating to the completion

of Part 1.

        29.      Part 2 of the AVD-104 Study, which is a significantly broader study than Part 1

(both in terms of numbers of sites and in terms of numbers of participants), is also ongoing, though

dosing has not yet begun for patients participating in Part 2.

        30.                             Runners’ initial payments totaling $945,351.40 for future
                 Aviceda has paid Trial Runners'

estimated expenses relating to Part 2 of the study. Aviceda has yet to receive a full accounting

from Trial Runners as to how these Part 2 payments have been spent.

        31.      Throughout the course of the AVD-104 Study, Aviceda, as the Sponsor of the

study, has had electronic access to two critical databases relating to the study. The first database

is the Clinical Trial Management System, which includes the Trial Master File ("CTMS/eTMF").
                                                                              (“CTMS/eTMF”).

This is a project management database including such things as timelines, budgets, and regulatory

documents. The CTMS/eTMF database is hosted by a vendor called Anju. The second database is

the trial database, which houses all of the clinical data, results, and other information relating to

patient participants in the AVD-104 Study. The trial database is hosted by a vendor called Medrio.

Both Anju and Medrio were selected and retained by Trial Runners to host the data related to, and

generated by, the AVD-104 Study.

        32.      Aviceda owns all the information housed in these databases. The information is

“Sponsor Confidential
"Sponsor Confidential Information,” which is
                      Information," which is defined
                                             defined in
                                                     in Section 1.20 of
                                                        Section 1.20 of the
                                                                        the MCSA
                                                                            MCSA as
                                                                                 as follows:
                                                                                    follows:

        (i) all scientific, technical and non-technical information relating to
                                                        information relating to Sponsor’s
                                                                                Sponsor's
        research, processes and methods, equipment, products, business practices, and/or
        Studies disclosed by or on behalf of Sponsor to CRO under this Agreement; (ii) all
        Work Product; and (iii) all Study Inventions, whether or not designated or


                                                 6
             Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 7 of 25




       confirmed as
       confirmed   as "confidential".
                       “confidential”. Sponsor  Confidential Information
                                       Sponsor Confidential                   may include,
                                                                Information may    include,
       without limitation, commercial, medical, scientific, and technical information, data,
       plans and protocols relating to Sponsor, a Study Drug, any Study, or any
       information derived therefrom. Sponsor Confidential Information may include any
       such third party information which Sponsor has received on a confidential basis.

       33.      Section 1.26 of
                Section 1.26 of the
                                the MCSA
                                    MCSA further
                                         further defines “Work Product"
                                                 defines "Work Product” to
                                                                        to mean:
                                                                           mean:

       all deliverables and work product, including without limitation, Study Data, Study
       Information, the project or trial master file from each Study, and all data, databases,
       records, reports, materials, compounds, samples, results, documents, templates,
       abstracts and summaries thereof, and prepared or commissioned works that are
       created or generated directly or indirectly as a result of performance of the Services,
       whether by CRO or its employees, agents, and/or Permitted Subcontractors, either
       alone or jointly.

       34.     “Study Data"
               "Study Data” (Section
                            (Section 1.23)
                                     1.23) and
                                           and "Study
                                               “Study Information"
                                                      Information” (Section
                                                                   (Section 1.24)
                                                                            1.24) are
                                                                                  are further
                                                                                      further

defined in the MCSA as follows:

       “Study Data"
       "Study   Data” means all data resulting from conducting a Study, including, without
       limitation, the data recorded on case report forms, laboratory work sheets, slides
       and reports, and all other data disclosed to CRO, generated by the Site(s),
       Investigator(s), CRO or other Study vendor(s) as a result of conducting the Study.

       “Study Information"
       "Study   Information” means all materials, documents, data, and information
       disclosed to CRO by Sponsor, any Site, or any Investigator or generated, created,
       or learned by CRO as a result of performing a Study.

       35.      The parties agreed in the MCSA that Aviceda is the sole and exclusive owner of

                                      “Sponsor Confidential Information shall be the sole and
the Sponsor Confidential Information: "Sponsor

          property of
exclusive property of Sponsor."
                      Sponsor.” See Ex. 1, § 1.20 (emphasis added).

      Trial Runners'
   B. Trial Runners’ Roles
                     Roles and Responsibilities as CRO of the AVD-104 Study

       36.      Pursuant to the Agreement, Trial Runners is responsible for administering various

aspects of the AVD-104 Study, including among other things, creating the study procedure

manual; monitoring regional milestones such as pre-study qualification visits and remote and on-

site risks; communicating medical monitoring to Aviceda; training any service vendors for the




                                                 7
              Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 8 of 25




study; assessing quality control; coding for adverse events; producing biostatistical data related to

the clinical trial; and negotiating site agreements. See Ex. 4, at 2-8.

        37.                                                      to "perform
                 Pursuant to the MCSA, Trial Runners is required to “perform the
                                                                             the Services set forth
                                                                                 Services set forth

in each Project Addendum . . . and warrants that it will perform the Services to the best of its ability

in a professional, workmanlike, and timely manner consistent with industry standards and, as a

contract research organization, in accordance with 21 C.F.R. § 312.52, in no case less than, Good

Industry Practice, and in strict accordance with Applicable Laws, the terms and conditions of this

                                                    Addendum.” Ex. 1, § 3.
Agreement, the applicable Protocol, and any Project Addendum."

        38.      Pursuant to the MCSA, Trial Runners is ultimately responsible for the performance

                                                       “CRO shall remain liable for the performance
of any study activities carried out by subcontractors: "CRO

of all CRO Permitted Subcontractors and CRO Affiliates and any breaches of any obligations

under this
under this Agreement
           Agreement by
                     by Permitted
                        Permitted Subcontractors or CRO
                                  Subcontractors or CRO Affiliates."
                                                        Affiliates.” Id. § 4.4; see also id. §

10.7.

        39.      Pursuant to the MCSA, Trial Runners is required to "maintain
                                                        required to “maintain its records in
                                                                              its records in aa

professional manner . . . to permit [Aviceda] to review the Study Information, Study Data and

other records, documents, information, and Materials related to the Study in full without disclosing

to Sponsor any third
   Sponsor any third party
                     party confidential
                           confidential or
                                        or proprietary
                                           proprietary information."
                                                       information.” Id. § 9.4.

        40.                                                                   “upon Sponsor’s
                 Pursuant to the MCSA, Trial Runners and its representatives, "upon Sponsor's

               “provide access
request,” must "provide
request,"               access to
                               to records
                                  records and
                                          and notebooks
                                              notebooks related to the
                                                        related to the Services.”
                                                                       Services." Id. § 10.2.

        41.      Pursuant to the MCSA, all rights, title, and interest in and to any study inventions,

work product, or specimens belong solely to Aviceda. See id. §§ 1.20, 10.2, 10.5.




                                                   8
             Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 9 of 25




       42.                                               protect Aviceda's
                Pursuant to the MCSA, Trial Runners must protect Aviceda’s Confidential
                                                                           Confidential

Information, and only use its Confidential Information in connection with the performance of the

Agreement. See id. § 5.1.

       43.      Pursuant to the MCSA, Trial Runners is obligated to comply with all Applicable

Laws, including at least 21 CFR Part 312, 50, 56, 54, and 11, as well as Good Clinical Practice

(GCP) standards. See Ex. 1, §§ 1.3, 3.

       44.      The parties agreed in the MCSA that the Agreement would continue for at least

three years, unless terminated early. Ex. 1, § 7.1.

       45.      The parties further agreed that Aviceda maintained the right to terminate the

Agreement "at
Agreement “at any
              any time
                  time and
                       and for any reason
                           for any reason in
                                          in whole
                                             whole or
                                                   or in
                                                      in part
                                                         part upon
                                                              upon thirty
                                                                   thirty (30)
                                                                          (30) days'
                                                                               days’ written
                                                                                     written notice
                                                                                             notice

          Runners].” Id. § 7.2.
to [Trial Runners]."

       46.      The MCSA therefore provides, in the event Aviceda elects to terminate under

Section 7.2, for a thirty-day period in which to conduct an orderly wind-down following Trial

Runners’ receipt
Runners'         of aa notice
         receipt of    notice of
                              of termination.
                                 termination.

       47.      Section 7.5 of the MCSA describes the parties'
                                        describes the parties’ obligations
                                                               obligations upon
                                                                           upon termination,
                                                                                termination, which
                                                                                             which

include cooperating
include cooperating to
                    to wind
                       wind down
                            down Trial
                                 Trial Runners'
                                       Runners’ Services in an
                                                Services in an orderly
                                                               orderly fashion,
                                                                       fashion, concluding Trial

Runners’ ongoing
Runners' ongoing work
                 work and
                      and avoiding
                          avoiding any
                                   any new
                                       new or
                                           or additional
                                              additional costs,
                                                         costs, and transferring uncompleted

Services and delivering all Work Product to Aviceda.

       48.      Specifically, the MCSA provides that upon termination, the parties agree:

       (i) to cooperate to provide
                            provide for
                                     for an orderly wind-down of of the Services provided by
       CRO hereunder, (ii) that CRO shall not undertake further
                                                             further work, shall use its best
       efforts to avoid incurring any additional costs, to mitigate all costs, damages,
       penalties, and expenses or shall not enter into further commitments with regard to
       any Services, except as mutually agreed upon in writing by the Parties, (iii) that
       CRO shall use all reasonable efforts to conclude or transfer any uncompleted
       Services, and (iv) that CRO shall deliver to Sponsor all WorkWork Product developed
       as of the date of such termination or expiration, and all formats available, including


                                                  9
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 10 of 25




        electronic format and computer files and programs, that are the property of Sponsor
        as defined in this Agreement and such Project Addendum.

Ex. 1, § 7.5 (emphasis added).

        49.    Section 7.5 further requires Trial Runners ensure the prompt transfer of the

information contained in databases like the CTMS/eTMF hosted by Anju, and the trial database

hosted by Medrio. Specifically, the MCSA provides:

        In the event CRO is providing SaaS Services or is responsible for managing any
        SaaS Services vendor(s), CRO shall ensure all Study Data, Study Information and
        SaaS Service records maintained by CRO and/or such vendor(s) are transferred to
        SaaS
                 promptly following completion or termination of a Project Addendum.
        Sponsor promptly

Id. (emphasis added).

        50.    The termination procedure under the MCSA therefore provides a thirty-day

window in which the parties are to cooperate to effectuate an orderly wind-down and transfer

                       termination becomes
           Agreement’s termination
before the Agreement's             becomes effective and extinguishes
                                           effective and              the parties'
                                                         extinguishes the parties’ relationship
                                                                                   relationship

and ongoing obligations to one another (excepting any surviving obligations described in Section

7.6).

        51.    Critically, the termination procedure does not contemplate that upon receipt of a

notice of termination, Trial Runners will have a 30-day period in which it may maintain the status

quo ante, continue its work unabated, and take no action whatsoever to effectuate the wind-down

until the 30th day following the termination notice, or take obstructive or uncooperative actions.

As explained below, however, that is precisely the position that Trial Runners has taken: it believes

its wind-down obligations spring into existence only upon termination, and therefore believes it

                                                                                        termination
                                                                              Aviceda’s termination
has no obligations to begin winding down until the 30th day after it received Aviceda's

notice. Trial Runners is not only wrong, but its reading of its obligations under Section 7.5 is

frustrating the purposes of the Agreement, obstructing and delaying an orderly wind-down, and



                                                 10
           Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 11 of 25




threatening to impede an important ongoing clinical trial which Aviceda is working to transfer to

a new CRO in a quick, efficient, safe, and responsible manner.

       Aviceda’s Termination of the Agreement
    C. Aviceda's

        52.     Aviceda ultimately decided to terminate and replace its underperforming CRO

because, while Trial Runners’ performance
               Trial Runners' performance during
                                          during Part
                                                 Part 1 of the AVD-104 Study was generally

satisfactory, its performance during Part 2 fell far short.

        53.     For Part 2 of the AVD-104 Study, Aviceda and Trial Runners had planned to start

dosing patients as of November 1, 2023. But by late September and early October 2023, Trial

Runners had fallen significantly behind schedule, to wit:

   •   Trial Runners had failed to finalize budgets or contracts for any of the participating sites,

        even though 26 participating sites were already confirmed (and 5 were the same as from

                                                                  would be
        Part 1), and the parties had agreed that several of those would be "priority"
                                                                           “priority” sites.
                                                                                      sites.

   •   Trial Runners had failed to complete any new pre-study site visits ("PSSVs")
                                                                           (“PSSVs”) since

        September 14, 2023, and had failed to schedule most of the remaining PSSVs.

   •   Similar to the PSSV problem, Trial Runners had failed to schedule any site initiation visits

        (“SIVs”).
        ("SIVs").

   •   Without completing the prerequisite PSSVs and SIVs, let alone completing all the related

        required documentation, it was extremely unlikely that any sites would be activated (i.e.,

        given the green light to begin patient screening) by November 1, 2023.

   •   Trial Runners and Aviceda also did not have an agreed-upon and updated budget for many

        Part 2 activities.




                                                  11
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 12 of 25




       54.     Moreover, in the months leading up to the hoped-for dosing of Part 2 patients to

begin in November 2023, Trial Runners had suffered significant turnover in its project manager

ranks, including the project managers directly responsible for the AVD-104 Study.

       55.     By October 2023, Aviceda had therefore become justifiably concerned about Trial

Runners’ performance,
Runners' performance, abilities,
                      abilities, and
                                 and staffing
                                     staffing capacity to successfully
                                              capacity to successfully continue administration of

the AVD-104 Study.

       56.     Accordingly, on October 12, 2023, in accordance with Section 7.2 of the MCSA,

Aviceda provided Trial Runners with written notice of termination. See Exhibit 5.

       57.     Through its counsel,
               Through its counsel, Trial Runners accepted
                                    Trial Runners accepted and
                                                           and acknowledged
                                                               acknowledged Aviceda's
                                                                            Aviceda’s notice
                                                                                      notice

of termination,
of termination, and
                and stated
                    stated that
                           that "the
                                “the termination
                                     termination date of the [Master Clinical Services Agreement]

is November
is November 11,
            11, 2023"—i.e.,
                2023”—i.e., 30 days from the October 12, 2023 notice provided by Aviceda. See

Exhibit 6.

       58.     Thus,
               Thus, Trial Runners expressly
                     Trial Runners           acknowledged that
                                   expressly acknowledged that the
                                                               the parties'
                                                                   parties’ Agreement
                                                                            Agreement remained
                                                                                      remained

in effect through November 11, 2023. Notwithstanding, immediately upon receipt of the October

12 termination
12 termination notice,
               notice, Trial
                       Trial Runners
                             Runners willfully
                                     willfully took
                                               took action
                                                    action to
                                                           to bar
                                                              bar Aviceda's
                                                                  Aviceda’s access
                                                                            access to
                                                                                   to its study
                                                                                      its study

databases, in blatant breach of its obligations under the Agreement it concedes remains in effect.

      Trial Runners'
   D. Trial Runners’ First Intentional Breach of Contract, and Hasty Cure in the Face of
      Legal Action

       59.     The following
               The           members of
                   following members of Aviceda's
                                        Aviceda’s clinical
                                                  clinical team
                                                           team had
                                                                had full access to the core

databases for the AVD-104 Study: Dr. David Callanan, MD (Chief Medical Officer), Ken
                                                                                 Keri

Marchitto (Director of Clinical Operations), and Dawn McNeal (Clinical Program Manager).

       60.     Dr. Callanan was granted full Sponsor access at the commencement of the MCSA,

and Ms. Marchitto and Ms. McNeal were granted Sponsor access after they began working at

Aviceda starting on January 3, 2023 and May 23, 2023, respectively.


                                                12
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 13 of 25




       61.      On October 14, 2023, when Dr. Callanan attempted to log into the trial database to

monitor patient data, as he had done at least weekly since the inception of the AVD-104 Study, he

was unable to gain access to the database.

       62.      When Dr. Callanan inquired with Medrio, the subcontractor Trial Runners hired to

manage the trial database, he was informed that his access had been terminated by Trial Runners.

       63.      Ms. Marchitto and Ms. McNeal also attempted to access the trial database on

October 14, 2023, and they too were unsuccessful.

       64.      When Ms. McNeal anailed
                                emailed Medrio about what had happened, she
                                                                        she received the

                                          the Aviceda
following email response, indicating that the Aviceda team's
                                                      team’s "Sponsor
                                                             “Sponsor Access"
                                                                      Access” to
                                                                              to the
                                                                                 the database
                                                                                     database

had been removed:




                                                                              medrio

             Hi Dawn.

             Thank you for your patience. Our records reflect that the following users were
             removed from the LIVE: Aviceda AVD-104-001 study on the afternoon of 12-Oct-
             2023:

             Dawn McNeal • dmcnealai)aviccdarx.com
             David Callanan - dcallananaavicedarx.com
             Ken Marchitto - kmarchitto(a4vicedarx.com

             All of the users had previously been on the study with the role Sponsor Access, with
             access to all sites.

             Please let us know if you have any further questions.

             Thank you!

             Cn Status: Waiting on Customer

             Kind regards.
             Matthew
             Medrio Support




                                                      13
              Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 14 of 25




See Exhibit 7.

          65.                                        blocked Aviceda's
                   Thus, Trial Runners intentionally blocked Aviceda’s access
                                                                       access to
                                                                              to Aviceda's
                                                                                 Aviceda’s own data

(Aviceda’s "Confidential
(Aviceda's “Confidential Information"
                         Information” under
                                      under the
                                            the MCSA)
                                                MCSA) "on
                                                      “on the afternoon of 12-Oct-2023"
                                                                           12-Oct-2023”—

i.e., immediately after receiving the notice of termination from Aviceda, and notwithstanding the

fact that Trial Runners knew and acknowledged that the MCSA remained in effect through

November 11, 2023.

          66.      On October 14, 2023, Dr. Callanan, Ms. Marchitto, and Ms. McNeal each

independently confirmed that their respective access to the CTMS/eTMF database hosted by Anju

had also been blocked by Trial Runners.

          67.                                                  was attempting
                    Worse still, it appears that Trial Runners was attempting to
                                                                              to hold
                                                                                 hold Aviceda's
                                                                                      Aviceda’s own
                                                                                                own

data ransom in exchange for a payoff.

          68.      On October
                   On October 13,
                              13, 2023,
                                  2023, Trial
                                        Trial Runners'
                                              Runners’ counsel
                                                       counsel wrote
                                                               wrote to Aviceda’s counsel
                                                                     to Aviceda's counsel and
                                                                                          and

demanded, without documentary support (i.e., receipts, invoices, budgets, etc.), payment of

$1,395,564.03 by the arbitrary date of October 16, 2023.

          69.                           the threatened
                    Evidently, this was the threatened "compensation"
                                                       “compensation” that
                                                                      that Trial
                                                                           Trial Runners’ CEO, Ms.
                                                                                 Runners' CEO, Ms.

Jill Healy,
Jill Healy, had
            had demanded
                demanded from
                         from Aviceda's
                              Aviceda’s CEO
                                        CEO immediately
                                            immediately after
                                                        after receiving
                                                              receiving Aviceda's
                                                                        Aviceda’s no-fault
                                                                                  no-fault

termination notice:


     From: Jill Healy <jillhealy@trialrunners.com>
     Sent: Thursday, October 12, 2023 2:25 PM
     To: Mohamed A. Genead, MD <mgenead@avicedarx.com>; avogel@ndlaw.com
     Cc: David Callanan, MD <dcallanan@avicedarx.com>; Wintner, Thomas <TWintner@mintz.com>; Melwani, Dinesh
     <DKMelwani@mintz.com>; Bourque, Dianne <DJBourclue@mintz.com>; Derek Kunimoto, MD, JD
     <dkunimoto@avicedarx.com>
     Subject: RE: Termination Notice_ Trial Runners


         CAUTION: This email originated from outside the organization. Do not click links or open
         attachments unless you recognize the sender and know the content is safe.
     This is to acknowledge receipt of the letter and Allisha Vogel, our attorney will be in touch to assure a smooth transition

 I   for Trial Runners, which will begin with compensation.



                                                              14
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 15 of 25




See Exhibit 8 (yellow highlighting added).

       70.     On October 14, 2023, upon realizing the gravity of the database access problem,

Dr. Callanan
Dr. Callanan immediately
             immediately contacted
                         contacted Trial Runners’ CEO,
                                   Trial Runners' CEO, Jill Healy, to
                                                       Jill Healy, to rectify the problem.
                                                                      rectify the problem. See

                                     to Dr.
Exhibit 9. Ms. Healy did not respond to Dr. Callanan's
                                            Callanan’s request.
                                                       request.

       71.     On October
               On October 14,
                          14, Aviceda's
                              Aviceda’s undersigned counsel, Thomas Wintner, also reached out

to Trial
to Trial Runners'
         Runners’ counsel,
                  counsel, Allisha
                           Allisha Vogel,
                                   Vogel, requesting that Aviceda's
                                          requesting that Aviceda’s database access for
                                                                    database access for the
                                                                                        the AVD-
                                                                                            AVD-

                                                             to Mr.
104 Study be immediately restored. Ms. Vogel did not respond to Mr. Wintner's
                                                                    Wintner’s request
                                                                              request until two

days later (October 16), when Mr. Wintner emailed her again and informed her that Aviceda would

be filing
be filing aa complaint and seeking
             complaint and seeking aa temporary
                                      temporary restraining
                                                restraining order
                                                            order to
                                                                  to restore
                                                                     restore Aviceda's
                                                                             Aviceda’s rightful
                                                                                       rightful access
                                                                                                access

to Aviceda's
to Aviceda’s own
             own data.
                 data.

       72.     Later on October 16, 2023, and only when confronted with the threat of imminent

legal action,
legal action, did
              did Trial Runners relent
                  Trial Runners        and restore
                                relent and         Aviceda’s access to its own clinical data and
                                           restore Aviceda's

databases. Still, as described below, Trial Runners continues to obstruct an orderly wind-down,

evidently motivated by a desire to gouge a justifiably dissatisfied client, and using its control over

Aviceda’s study
Aviceda's study data to leverage
                data to leverage an
                                 an unearned
                                    unearned and
                                             and unsubstantiated
                                                 unsubstantiated payment.
                                                                 payment.

       73.     Regrettably, this
               Regrettably, this appears
                                 appears to
                                         to be
                                            be Trial
                                               Trial Runners'
                                                     Runners’ modus operandi. On information and

belief, this is not the first time that Trial Runners has tried to withhold a sponsor's access to
                                                                              sponsor’s access to its
                                                                                                  its

own data in exchange for a demanded payment. In a remarkably similar dispute that Trial Runners

had with another sponsor of a clinical trial, based on a remarkably similar contract, the sponsor

alleged: "Most
alleged: “Most recently
               recently and
                        and egregiously,
                            egregiously, Trial
                                         Trial Runners
                                               Runners decided
                                                       decided to
                                                               to hold
                                                                  hold ‘hostage’
                                                                       `hostage' the clinical data

and related documentation resulting from the study. Trial Runners refuses to turn this data over,

unless [Sponsor] accedes to its unreasonable demands.”
                                             demands." Mati Therapeutics Inc. v. Trial Runners,




                                                 15
           Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 16 of 25




                                                       ¶¶ 1, 6, 27. A true and accurate copy of
LLC, No. 17-cv-1620 (S.D.N.Y. Mar. 3, 2017), Complaint ¶¶

the Mati complaint is attached as Exhibit 10.

        74.                                                                               sponsor’s
                In the Mati case and like here, Trial Runners retained Medrio to host the sponsor's

                                      “instructed Medrio
trial data. As alleged, Trial Runners "instructed Medrio to
                                                         to cut
                                                            cut off
                                                                off [Sponsor's]
                                                                    [Sponsor’s] access
                                                                                access to
                                                                                       to the
                                                                                          the data
                                                                                              data

entirely” while
entirely" while threatening
                threatening that
                            that "unless
                                 “unless these
                                         these ‘legalities’ are resolved
                                               `legalities' are resolved to
                                                                         to Trial Runners’
                                                                            Trial Runners'

satisfaction, it
satisfaction, it will
                 will not
                      not release
                          release [Sponsor's]
                                  [Sponsor’s] valuable
                                              valuable proprietary
                                                       proprietary data."
                                                                   data.” Id. That is exactly what Trial

Runners did
Runners     to Aviceda
        did to Aviceda here,
                       here, as
                             as retaliation
                                retaliation for
                                            for Aviceda's
                                                Aviceda’s lawful
                                                          lawful exercise
                                                                 exercise of
                                                                          of its
                                                                             its termination
                                                                                 termination rights
                                                                                             rights

under the Agreement.

       Trial Runners'
    E. Trial Runners’ Subsequent Breaches in Failing to Cooperate with the Wind-Down of
       the Agreement

        75.     The MCSA requires the parties, as described above in paragraphs 47-50, to

cooperate with each other to effectuate an orderly wind-down and transfer of services and study

information following notice of termination.

        76.    From Trial Runners’ very
                    Trial Runners' very first
                                        first communication
                                              communication in response to Aviceda's
                                                                           Aviceda’s termination

notice, Trial Runners has been uncooperative. As indicated above, Trial Runners' CEO has
                                                                        Runners’ CEO

             “a smooth
decreed that "a smooth transition
                       transition will begin with compensation.”
                                                  compensation." Ex.
                                                                 Ex. 8
                                                                     8 (emphasis added). And,

following through on that decree, Trial Runners’ counsel
                                  Trial Runners' counsel has demanded nearly $1.4 million and

       that only
stated that only "upon
                 “upon receipt of this
                       receipt of this amount"
                                       amount” would
                                               would Trial Runners "agre[e]
                                                     Trial Runners “agre[e] to
                                                                            to immediately begin
                                                                               immediately begin

transferring all
transferring all Work
                 Work Product."
                      Product.” Ex. 6.

        77.     Trial Runners, through counsel, has also taken the position that its wind-down

obligations under
obligations under Section 7.5 arise
                  Section 7.5 arise only
                                    only upon
                                         upon "termination"
                                              “termination” and
                                                            and therefore
                                                                therefore do
                                                                          do not
                                                                             not even
                                                                                 even begin until

November 11, 2023. See Ex. 6.

        78.    On October 17, 2023, in an effort to have the Aviceda and Trial Runners teams

work cooperatively on the wind-down, Dr. Callanan wrote to the Trial Runners team with specific,


                                                  16
           Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 17 of 25




6-point instructions of what remaining work he believed Trial Runners should be doing (or, in

some cases, not doing). See Exhibit 11. In the same email, he gave the Trial Runners team the

opportunity to comment on his 6-point proposal, or to add to it (assuming they had a reasonable

justification for such modification).

         79.                                                             Dr. Callanan
               Instead of responding cooperatively, Ms. Healy instructed Dr. Callanan to
                                                                                      to "please
                                                                                         “please

stop corresponding with Patrick [her husband and co-CEO] and myself without our general

counsel.” See Exhibit 12 (highlighting in original). She
counsel."                                            She further stated: "You
                                                         further stated: “You will
                                                                              will receive
                                                                                   receive an
                                                                                           an

expenses incurred list from our attorney today, please confirm with her the payment expectations

and there will be no problems."
                     problems.” Id. (emphasis added).

         80.   Ms. Healy's
               Ms. Healy’s threat
                           threat was
                                  was subtle,
                                      subtle, but clear. The converse of her demand is, of course,

“don’t pay
"don't pay us,
           us, and
               and we
                   we won't
                      won’t cooperate”—i.e.,                    make "problems"
                            cooperate"—i.e., Trial Runners will make “problems” for Aviceda.
                                                                                for Aviceda.

Nothing in the Agreement allows for this kind of obstructionism. Invoices are to be issued by the

CRO in the ordinary course, with justification for payment earned or expenses incurred, and then

the Sponsor is supposed to pay within 30 days, subject to a right to dispute the invoice. See Ex. 1,

§ 6.2.

         81.   As it turns out, Trial Runners has now made good on Ms. Healy's
                                                                       Healy’s threats. For

            announced, through
example, it announced, through counsel,
                               counsel, that
                                        that "Trial
                                             “Trial Runners
                                                    Runners plans
                                                            plans to
                                                                  to move
                                                                     move forward
                                                                          forward with
                                                                                  with the
                                                                                       the study
                                                                                           study

objectives until
objectives       the termination
           until the termination date,"
                                 date,” i.e., that it plans to keep working on—and billing Aviceda

for—various projects right up to the last moment before termination becomes effective on

                           contravenes Aviceda's
November 11. This directly contravenes Aviceda’s 6-point
                                                 6-point wind-down plan, as sent by Dr.

Callanan, not to mention the orderly wind-down procedures outlined in Section 7.5 of the MCSA.

         82.   As another example, when a Senior Project Manager at Trial Runners attempted to

work in good faith by coordinating with both the Aviceda and Trial Runners teams about Dr.



                                                17
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 18 of 25




Callanan’s 6-point
Callanan's 6-point wind-down plan, Ms. Healy blocked her own employee from engaging in such

                         “Thank you
communications, stating: "Thank you Ronda,
                                    Ronda, our
                                           our attorney
                                               attorney has
                                                        has aa different
                                                               different vision
                                                                         vision for
                                                                                for the
                                                                                    the roll
                                                                                        roll off
                                                                                             off

tha[n] Aviceda, so I think it is best that all discussions between TR clinops and David and Keri

and Dawn
and Dawn kind
         kind come to halt."
              come to halt.” See Exhibit 13.

       83.                                                        either sides'
                The Agreement, of course, does not prescribe that either sides’ attorneys'
                                                                                attorneys’ "vision"
                                                                                           “vision”

                                                            parties’ vision, and it expressly sets
will dictate how the wind-down will occur. It calls for the parties'

forth how that should happen. See Ex. 1, § 7.5. Per the MCSA, the CRO cannot simply ignore the

directives of the Sponsor.

       84.      The Agreement also
                The Agreement also does
                                   does not
                                        not call
                                            call for
                                                 for discussions between the
                                                     discussions between the parties
                                                                             parties to
                                                                                     to "come
                                                                                        “come to
                                                                                              to

[a] halt,"
[a] halt,” as
           as Ms.
              Ms. Healy
                  Healy directed.
                        directed. The Agreement calls
                                  The Agreement calls for
                                                      for exactly the opposite.
                                                          exactly the opposite. By
                                                                                By ordering that

                                                                             “TR clinops")
discussions cease between Trial Runners clinical operations personnel (i.e., "TR clinops”) and
                                                                                           and

                                             “David and
Aviceda clinical operations personnel (i.e., "David and Ken
                                                        Keri and
                                                             and Dawn")
                                                                 Dawn”) who
                                                                        who are
                                                                            are best situated to

“provide for
"provide for an
             an orderly
                orderly wind-down
                        wind-down of
                                  of the
                                     the Services provided by
                                         Services provided by CRO,"
                                                              CRO,” see Ex. 1, § 7.5, Ms. Healy

intentionally breached the very Agreement she acknowledges is still in force, and has frustrated its

very purpose.

       85.      At the same time that Ms. Healy was ordering the Aviceda and Trial Runners

clinical operations staff not to talk with each other, she was surreptitiously moving forward with

at least one site initiation visit ("SW"),
                                   (“SIV”), notwithstanding that (a) the prerequisites for the SIV had

not been completed, and (b) on October 9, 2023, Dr. Callanan had expressly requested in writing

that Trial
that       Runners "[p]lease
     Trial Runners “[p]lease place all site initiation processes for Part 2 of the GA Siglec trial on

hold” (and then he reiterated a similar request on October 17). Even though it contravened
hold"

Aviceda’s express
Aviceda's express directions,
                  directions, Ms. Healy appears to have taken this action in an attempt to gin up

post-termination fees that Trial Runners could then charge to Aviceda.



                                                 18
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 19 of 25




       86.     Still further, on October 20, 2023, when Ms. Healy learned that Aviceda had

engaged another CRO, InFocus Clinical Research, to take over the CRO role for the AVD-104

           Healy directed
Study, Ms. Healy directed Dr.
                          Dr. Callanan
                              Callanan to
                                       to have
                                          have InFocus
                                               InFocus "stand
                                                       “stand down"
                                                              down” from
                                                                    from performing
                                                                         performing any
                                                                                    any

transitional role. Nothing in the Agreement, however, prohibits Aviceda from retaining a new CRO

and getting them up to speed on a trial that will be transitioned to that CRO upon termination.

Again, Ms. Healy continues to willfully obstruct, rather than cooperate, with the wind-down plan

requested by Aviceda as Sponsor of the study.

       87.     In sum, Trial Runners has breached and continues to breach the Agreement and act

in ways that deliberately and unnecessarily frustrate its purpose. Moreover, Trial Runners'
                                                                                   Runners’

deliberate refusal to cooperate with Aviceda as required under Section 7.5 of the MCSA—

          wrongfully barring
including wrongfully barring Aviceda's
                             Aviceda’s access to the trial databases, wrongfully preventing

Aviceda and Trial Runners employees and agents from communicating with each other for

purposes of winding down the relationship and transitioning the clinical trial, and wrongfully

performing tasks that Aviceda has expressly directed Trial Runners not to do—constitutes willful

                                        Trial Runners'
misconduct, such that the limitation on Trial Runners’ liability in Section 12.3 of the MCSA will

not apply to bar Aviceda from seeking indirect or consequential damages.

                                     FIRST CLAIM FOR RELIEF

                                      BREACH OF CONTRACT

       88.      Aviceda realleges and incorporates by reference the allegations of the paragraphs

of this Complaint as though fully set forth herein.

       89.     The Agreement between Aviceda and Trial Runners constitutes a binding and

enforceable Agreement.




                                                19
           Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 20 of 25




       90.     Trial Runners breached the Agreement by, among other things: failing to provide

Aviceda access to review its own data; not permitting Aviceda to retain all rights, title, and interest

in and to all intellectual property rights, study inventions, work product, or specimens; refusing to

commence an orderly wind-down process until November 11, 2023; refusing to allow its own

clinical trial team to communicate directly with Aviceda; demanding immediate payment despite

explicit invoicing instructions in the Agreement; failing to provide substantiation for the demanded

payment; demanding that Aviceda only communicate to Trial Runners via its outside counsel, who

                                                            its own
is not part of the clinical trial operations team; creating its own "version"
                                                                    “version” of
                                                                              of wind-down procedures

in spite of the existence of express clauses in the Agreement covering such procedures; and stating

   intention to
an intention to "move
                “move forward
                      forward with
                              with the
                                   the study
                                       study objectives
                                             objectives until
                                                        until the
                                                              the termination,"
                                                                  termination,” over
                                                                                over repeated
                                                                                     repeated and
                                                                                              and

                                                   per the
express instructions to the contrary from Aviceda, per the Agreement's
                                                           Agreement’s wind-down
                                                                       wind-down procedures.

       91.                                              Runners’ breaches, Aviceda has suffered
               As a direct and proximate cause of Trial Runners'

                                    arising from
and will continue to suffer damages arising from Trial Runners’ actions
                                                 Trial Runners' actions to
                                                                        to impede an orderly
                                                                           impede an orderly wind-
                                                                                             wind-

down and transfer of the study data so that Aviceda can move forward with the ongoing clinical

study with a new CRO.

       92.     Additionally, Trial
               Additionally, Trial Runners'
                                   Runners’ demands
                                            demands have
                                                    have required Aviceda to involve its own
                                                         required Aviceda

outside counsel to coordinate and referee routine clinical and transactional communications that

the Agreement
the Agreement requires
              requires the
                       the parties
                           parties to
                                   to conduct in the
                                      conduct in the ordinary
                                                     ordinary course,
                                                              course, following
                                                                      following the
                                                                                the Agreement's
                                                                                    Agreement’s

wind-down procedures upon termination. This has required Aviceda to incur unnecessary legal

           are aa direct
costs that are           and proximate
                  direct and proximate result
                                       result of
                                              of Trial
                                                 Trial Runners'
                                                       Runners’ breach of contract.




                                                  20
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 21 of 25




                               SECOND CLAIM FOR RELIEF

  BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

        93.    Aviceda realleges and incorporates by reference the allegations of the paragraphs

of this Complaint as though fully set forth herein.

        94.    Trial Runners’ actions have prevented Aviceda from receiving the benefit of the
               Trial Runners'

Agreement in its entirety. The Agreement was formed for the purpose of retaining Trial Runners

          administer Aviceda's
as CRO to administer Aviceda’s clinical study, and contemplated a process for an orderly

termination of the relationship if needed. Instead of complying with its obligations upon notice of

termination, Trial Runners has refused to cooperate, has erected communication barriers between

the parties that threaten to impede the clinical study and certainly impede the orderly wind-down,

and has attempted to leverage its control over critical study information to demand a ransom

payment, which Trial Runners has neither earned nor substantiated.

        95.    Trial Runners has failed to deliver sufficient budget and financial documentation to

support its ransom payment, and has failed to explain why it is entitled to retain the $945,351.40

payment that Aviceda has already made to Trial Runners as an initial, up-front payment for Part 2

of the AVD-104 Study.

        96.    Even after Aviceda's
               Even after Aviceda’s access
                                    access to
                                           to Sponsor Confidential Information
                                              Sponsor Confidential Information was reinstated by

Trial Runners, its CEO continued to demand payment in exchange for its cooperation during the

wind-down time period between notice and termination, which will be effective on November 11,

2023.

        97.    Trial Runners repeatedly demanded that even routine communications about

routine business be run through its outside counsel, who is not qualified to manage the clinical




                                                21
           Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 22 of 25




trial’s operations
trial's operations and
                   and is
                       is not in aa position
                          not in    position to
                                             to fulfill Trial Runners'
                                                fulfill Trial Runners’ obligations as the CRO under the

Agreement.

        98.    Trial Runners also blocked its own Senior Project Manager for the AVD-104 Study

                   Aviceda’s express
from communicating Aviceda's express wind-down instructions to the
                                                               the parties'
                                                                   parties’ respective
                                                                            respective clinical

trial teams.

        99.    These actions were taken in bad faith, as part of Trial Runners' attempt to
                                                                       Runners’ attempt to receive
                                                                                           receive

a greater payment than it was owed because Aviceda chose to terminate the Agreement.

        100.   These actions constitute an unreasonable and arbitrary departure from standard

clinical trial procedures, from Good Clinical Practice, and from the parties' rights under
                                                                     parties’ rights under the
                                                                                           the

Agreement.

        101.                                    of Trial
               As a direct and proximate result of       Runners’ violation of the implied covenant
                                                   Trial Runners'

of good faith and fair dealing, Aviceda has suffered and will continue to suffer monetary and non-

monetary harm. Trial Runners’ actions
               Trial Runners' actions have
                                      have frustrated the purpose
                                           frustrated the purpose of
                                                                  of the
                                                                     the Agreement
                                                                         Agreement and
                                                                                   and denied
                                                                                       denied

Aviceda the fruits of its bargain.

                                     THIRD CLAIM FOR RELIEF

                                     DECLARATORY JUDGMENT

       102.    Aviceda realleges and incorporates by reference the allegations of the paragraphs

of this Complaint as though fully set forth herein.

       103.    There is an actual and substantial controversy between Aviceda and Trial Runners

regarding Trial Runners'
                Runners’ baseless accusations that Aviceda allegedly has breached the Agreement

regarding payment of invoices. Aviceda seeks a declaratory judgment that it is not in breach of the

Agreement and that it owes nothing to Trial Runners for Trial Runners'
                                                              Runners’ willful refusal to conduct

an orderly wind-down process following notice of termination of the Agreement.



                                                  22
           Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 23 of 25




        104.   Trial Runners stated to its clinical trial team that in spite of what Dr. Callanan has

instructed under
instructed under the
                 the Agreement,
                     Agreement, it has aa "different
                                it has    “different vision"
                                                     vision” for the interim
                                                             for the interim period before effective

termination, without
termination, without elaborating on what
                     elaborating on what that
                                         that "different
                                              “different vision"
                                                         vision” is.
                                                                 is. In this communication
                                                                     In this communication to
                                                                                           to the
                                                                                              the

clinical trial team, Trial Runners instructed its team to cut off communication with Aviceda

altogether.

        105.   Aviceda further seeks a declaratory judgment that Trial Runners has breached the

Agreement by its willful refusal to conduct an orderly and agreed-upon wind-down process

following notice of termination.

        106.   Aviceda further seeks a declaratory judgment that Trial Runners has breached the

Agreement via its attempt to condition its wind-down obligations upon the payment of a non-

substantiated demand for almost $1.4 million, and/or upon effective termination on November 11,

2023.

        107.   Aviceda further seeks a declaratory judgment that Trial Runners has breached the

Agreement through
Agreement through its
                  its actions
                      actions to
                              to limit Aviceda’s access
                                 limit Aviceda's access to
                                                        to its
                                                           its own
                                                               own data hosted in
                                                                   data hosted    the databases
                                                                               in the databases

maintained by
maintained by Trial Runners’ vendors
              Trial Runners' vendors Medrio
                                     Medrio and
                                            and Anju.
                                                Anju.

        108.   Aviceda further seeks a declaratory judgment that Trial Runners has breached the

          through its
Agreement through its stated
                      stated intention
                             intention to
                                       to "move
                                          “move forward with the study objectives until the

termination,” over
termination," over Aviceda's
                   Aviceda’s express
                             express instructions and objections,
                                     instructions and objections, and
                                                                  and contrary
                                                                      contrary to
                                                                               to its
                                                                                  its wind-down
                                                                                      wind-down

obligations.

        109.   The requested declaratory relief will serve a useful purpose by clarifying and

             parties’ rights under the Agreement.
settling the parties'

        110.   Aviceda and Trial Runners have adverse legal interests of sufficient immediacy and

reality to warrant the issuance of a declaratory judgment. Trial Runners has made specific demands



                                                23
            Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 24 of 25




for payment to Aviceda, demanded that communication between the clinical trial team and

                              Runners’ legal counsel, and blocked its employees from
Aviceda only go through Trial Runners'

communicating instructions under the Agreement to the rest of the clinical trial team, all of which

frustrates the purpose of the Agreement and threatens to impede an ongoing clinical trial.

      111.     Additionally, issuance of a declaratory judgment will afford relief to Aviceda from

the uncertainty, insecurity, and controversy giving rise to the controversy.

                                    PRAYER FOR RELIEF

               WHEREFORE, Aviceda prays for relief as follows:

       1.      Judgment on all Counts of this Complaint;

       2.      Compensatory, incidental, and consequential damages against Trial Runners;

       3.      Costs, expenses and fees, including attorneys'
                                                   attorneys’ fees;

       4.      With respect to the Agreement:

               a.      A declaration that Aviceda is not in breach of the Agreement and that it

                       owes nothing
                       owes nothing to
                                    to Trial
                                       Trial Runners
                                             Runners for
                                                     for Trial Runners’ willful
                                                         Trial Runners' willful refusal to
                                                                                refusal to

                       cooperate with Aviceda and conduct an orderly wind-down process

                       following notice of termination.

               b.      A declaration that Trial Runners has breached the Agreement in its willful

                       refusal to begin an orderly wind-down process until no earlier than

                       November 11, 2023.

               c.      A declaration that Trial Runners has breached the Agreement via its

                       attempt to condition its wind-down obligations upon the payment of a

                       non-substantiated demand for almost $1.4 million.




                                                24
          Case 1:23-cv-12468-IT Document 1 Filed 10/23/23 Page 25 of 25




             d.     A declaration that Trial Runners has breached the Agreement through its

                    actions to
                    actions to limit
                               limit Aviceda's
                                     Aviceda’s access
                                               access to
                                                      to its
                                                         its own
                                                             own data
                                                                 data hosted
                                                                      hosted in the databases
                                                                             in the databases

                               by Trial
                    maintained by       Runners’ vendors
                                  Trial Runners' vendors Medrio
                                                         Medrio and
                                                                and Anju.
                                                                    Anju.

             e.     A declaration that Trial Runners has breached the Agreement through its

                    stated intention
                    stated intention to
                                     to "move
                                        “move forward with the study objectives until the

                    termination,” over
                    termination," over Aviceda's
                                       Aviceda’s express
                                                 express instructions
                                                         instructions and
                                                                      and objections,
                                                                          objections, and

                    contrary to its wind-down obligations.

     5.      All other and further relief deemed just and proper by the Court.

                              DEMAND FOR JURY TRIAL

     Aviceda demands trial by jury on all issues triable as a matter of right at law.



Dated: October 23, 2023                         Respectfully submitted,


                                                /s/
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                                                        LEVIN, COHN, FERRIS,
                                                                     FERRIS, GLOVSKY
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                                                Inc.



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